     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 1 of 19 Page ID #:1




 1 Scott Alan Burroughs (SBN 235718)
     scott@donigerlawfirm.com
 2 Frank R. Trechsel (SBN 312199)

 3 ftrechsel@donigerlawfirm.com
     DONIGER / BURROUGHS
 4 603 Rose Avenue

 5 Venice, California 90291
     Telephone: (310) 590-1820
 6 Attorneys for Plaintiff

 7

 8
                         UNITED STATES DISTRICT COURT

 9
                       CENTRAL DISTRICT OF CALIFORNIA

10
     Elliot McGucken, an individual,           Case No.:
11
                                                   COMPLAINT FOR:
12   Plaintiff,
                                                    1. COPYRIGHT INFRINGEMENT
13   v.                                             2. VICARIOUS AND/OR
14                                                     CONTRIBUTORY COPYRIGHT
     National Geographic Partners, LLC, a              INFRINGEMENT
15   Delaware limited liability company;              JURY TRIAL DEMANDED
16   Yasno Publishing, LLC, a Russia limited
     liability Company; Editorial Televisa,
17   S.A. de C.V., a Mexico company; and
18   DOES 1-10, inclusive,

19   Defendants.
20

21

22

23

24

25

26

27

28
                                               1
                                        COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 2 of 19 Page ID #:2




 1           Plaintiff, Elliot McGucken (“McGucken”) by and through his undersigned
 2 attorneys, hereby prays to this honorable Court for relief based on the following:

 3                              JURISDICTION AND VENUE
 4           1.   This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
 5 et seq.

 6           2.   This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
 7 1338 (a) and (b).

 8           3.   Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 9 1400(a) in that this is the judicial district in which a substantial part of the acts and

10 omissions giving rise to the claims occurred.

11                                         PARTIES
12           4.   Plaintiff Elliot McGucken is an individual residing in Los Angeles
13 County.

14           5.   McGucken is informed and believes and thereon alleges that Defendant
15 National Geographic Partners, LLC. (“NatGeo”) is a Delaware limited liability

16 company and is doing business in the State of California.

17           6.   McGucken is informed and believes and thereon alleges that Defendant
18 Yasno Publishing, LLC (“Yasno”) is a Russia limited liability company doing

19 business in and with the State of California.

20           7.   McGucken is informed and believes and thereon alleges that Defendant
21 Editorial Televisa, S.A. de C.V. (“Televisa”) is a Mexico company doing business in

22 and with the State of California.

23           8.   Defendants DOES 1 through 10, inclusive, are other parties not yet
24 identified who have infringed McGucken’s copyrights, have contributed to the

25 infringement of McGucken’s copyrights, or have engaged in one or more of the

26 wrongful practices alleged herein. The true names, whether corporate, individual or

27 otherwise, of Defendants 1 through 10, inclusive, are presently unknown to

28
                                                2
                                            COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 3 of 19 Page ID #:3




 1 McGucken, who therefore sues said Defendants by such fictitious names, and will

 2 seek leave to amend this Complaint to show their true names and capacities when

 3 same have been ascertained.

 4        9.    McGucken is informed and believes and thereon alleges that at all times
 5 relevant hereto each of the Defendants was the agent, affiliate, officer, director,

 6 manager, principal, alter-ego, and/or employee of the remaining Defendants and was

 7 at all times acting within the scope of such agency, affiliation, alter-ego relationship

 8 and/or employment; and actively participated in or subsequently ratified and adopted,
 9 or both, each and all of the acts or conduct alleged, with full knowledge of all the

10 facts and circumstances, including, but not limited to, full knowledge of each and

11 every violation of McGucken’s rights and the damages to McGucken proximately

12 caused thereby.

13               CLAIMS RELATED TO SUBJECT PHOTOGRAPHY
14        10.   McGucken is an award-winning fine art photographer who created and
15 owns numerous original photographs (“Subject Photography”), depicted in Exhibit

16 A-1 and Exhibit A-2 attached hereto.

17        11.   Prior to the events complained of herein, McGucken registered the
18 Subject Photography with the United States Copyright Office at Registration

19 Numbers VA0002148759 and VA0002150908.

20        12.   Prior to the events complained of herein, McGucken widely publicly
21 displayed the Subject Photography including through McGucken’s website,

22 emcgucken.com, and through properly authorized publications by third-parties.

23        13.   McGucken is informed and believes and thereon alleges that, following
24 his publication and display of the Subject Photography, Defendants, and each of

25 them, reproduced, distributed, displayed, and otherwise exploited the Subject

26 Photography for commercial benefit, including at websites www.ngenespanol.com,

27 which is owned and operated by NatGeo and Televisa, and www.nat-geo.ru, which is

28
                                                3
                                           COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 4 of 19 Page ID #:4




 1 owned and operated by NatGeo and Yasno, without McGukcen’s authorization or

 2 consent. Non-inclusive exemplars of Defendant’s infringing uses of the Subject

 3 Photography are depicted in Exhibit A-1 and Exhibit A-2 attached hereto

 4 (“Infringing Uses”).

 5        14.   McGucken is informed and believes and thereon alleges that Defendants,
 6 and each of them, access the Subject Photography through, without limitation,

 7 McGucken’s website, third-party uses, McGucken’s many features and publications,

 8 or through social media.
 9        15.   A comparison of the Subject Photography with the corresponding images
10 of the Infringing Uses reveals that elements, composition, colors, arrangement,

11 subject, lighting, angle, and overall appearance of the images are identical or at least

12 substantially similar.

13        16.   McGucken is informed and believes and thereon alleges that Defendants,
14 and each of them, were involved in creating and/or developing the Infringing Uses,

15 and/or supplying, marketing, distributing, selling, and otherwise providing the

16 Infringing Uses to third parties, including without limitation, the public.

17        17.   McGucken at no time authorized Defendants, or any of them, to use the
18 Subject Photography as complained of herein.

19                             FIRST CLAIM FOR RELIEF
20                (For Copyright Infringement – Against all Defendants, and Each)
21        18.    McGucken repeats, re-alleges, and incorporates herein by reference as
22 though fully set forth, the allegations contained in the preceding paragraphs of this

23 Complaint.

24        19.    McGucken is informed and believes and thereon alleges that Defendants,
25 and each of them, had access to the Subject Photography, including, without

26 limitation, through (a) viewing the Subject Photography on McGucken’s website, (b)

27 viewing Subject Photography online, and (c) viewing Subject Photography through a

28
                                               4
                                           COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 5 of 19 Page ID #:5




 1 third party. McGucken further alleges that the identical nature of the copying

 2 establishes access.

 3        20.   McGucken is informed and believes and thereon alleges that Defendants,
 4 and each of them, used and distributed images that were unauthorized copies of the

 5 Subject Photography, and exploited said photography online and in productions.

 6        21.   McGucken is informed and believes and thereon alleges that Defendants,
 7 and each of them, infringed McGucken’s copyrights by creating infringing derivative

 8 works from the Subject Photography and by publishing and displaying the infringing
 9 material to the public, including without limitation, through its website or elsewhere.

10        22.   McGucken is informed and believes and thereon alleges that Defendants,
11 and each of them, infringed McGucken’s rights by copying the Subject Photography

12 without McGucken’s authorization or consent.

13        23.   Due to Defendants’, and each of their, acts of infringement, McGucken
14 has suffered general and special damages in an amount to be established at trial.

15        24.   Due to Defendants’ acts of copyright infringement as alleged herein,
16 Defendants, and each of them, have obtained direct and indirect profits they would

17 not otherwise have realized but for their infringement of McGucken’s rights in the

18 Subject Photography. As such, McGucken is entitled to disgorgement of Defendants’

19 profits directly and indirectly attributable to Defendants’ infringement of

20 McGucken’s rights in the Subject Photography in an amount to be established at trial.

21        25.   McGucken is informed and believes and thereon alleges that Defendants,
22 and each of them, have committed acts of copyright infringement, as alleged above,

23 which were willful, intentional and malicious, which further subjects Defendants, and

24 each of them, to liability for statutory damages under Section 504(c)(2) of the

25 Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)

26 per infringement.

27

28
                                               5
                                          COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 6 of 19 Page ID #:6




 1                              SECOND CLAIM FOR RELIEF
 2              (For Vicarious and/or Contributory Copyright Infringement – Against all
 3                                   Defendants, and Each)
 4        26.     McGucken repeats, re-alleges, and incorporates herein by reference as
 5 though fully set forth, the allegations contained in the preceding paragraphs of this

 6 Complaint.

 7        27.     McGucken is informed and believes and thereon alleges that Defendants
 8 knowingly induced, participated in, aided and abetted in and profited from the illegal
 9 reproduction and distribution of the Subject Photography as alleged hereinabove.

10 Such conduct included, without limitation, publishing photographs obtained from

11 third parties that Defendants knew, or should have known, were not authorized to

12 publish the Subject Photography.

13        28.     McGucken is informed and believes and thereon alleges that Defendants,
14 and each of them, are vicariously liable for the infringement alleged herein because

15 they had the right and ability to supervise the infringing conduct and because they

16 had a direct financial interest in the infringing conduct. Specifically, Defendants, and

17 each of them, received revenue in connection with the posts that incorporated the

18 unauthorized copies of the Subject Photography, and were able to supervise the

19 publication of said posts.

20        29.     By reason of the Defendants’, and each of their, acts of contributory and
21 vicarious infringement as alleged above, McGucken has suffered and will continue to

22 suffer substantial damages to their business in an amount to be established at trial, as

23 well as additional general and special damages in an amount to be established at trial.

24        30.     Due to Defendants’ acts of copyright infringement as alleged herein,
25 Defendants, and each of them, have obtained direct and indirect profits they would

26 not otherwise have realized but for their infringement of McGucken’s rights in the

27 Subject Photography. As such, McGucken is entitled to disgorgement of Defendants’

28
                                                6
                                            COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 7 of 19 Page ID #:7




 1 profits directly and indirectly attributable to Defendants’ infringement of their rights

 2 in the Subject Photography, in an amount to be established at trial.

 3        31.     McGucken is informed and believes and thereon alleges that Defendants,
 4 and each of them, have committed acts of copyright infringement, as alleged above,

 5 which were willful, intentional and malicious, which further subjects Defendants, and

 6 each of them, to liability for statutory damages under Section 504(c)(2) of the

 7 Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)

 8 per infringement.
 9                                   PRAYER FOR RELIEF

10        Wherefore, Plaintiff prays for judgment as follows:

11                             Against all Defendants, and Each:

12        Wherefore, Plaintiff prays for judgment as follows against all Defendants and

13 with respect to each claim for relief:

14              a. That Defendants, and each of them, as well as their employees, agents,

15                 or anyone acting in concert with them, be enjoined from infringing

16                 Plaintiff’s copyrights in the Subject Photography, including without

17                 limitation an order requiring Defendants, and each of them, to remove

18                 any content incorporating, in whole or in part, the Subject Photography

19                 from any print, web, or other publication owned, operated, or controlled

20                 by any Defendant.

21              b. That Plaintiff be awarded all profits of Defendants, and each of them,

22                 plus all losses of Plaintiff, plus any other monetary advantage gained by

23                 the Defendants, and each of them, through their infringement, the exact

24                 sum to be proven at the time of trial, and, to the extent available,

25                 statutory damages as available under the 17 U.S.C. § 504 and other
26                 applicable law.
27

28
                                                  7
                                             COMPLAINT
     Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 8 of 19 Page ID #:8




 1           c. That a constructive trust be entered over any revenues or other proceeds

 2              realized by Defendants, and each of them, through their infringement of

 3              Plaintiff’s intellectual property rights;

 4           d. That Plaintiff be awarded his attorneys’ fees as available under the

 5              Copyright Act U.S.C. § 505 et seq.;

 6           e. That Plaintiff be awarded their costs and fees under the above statutes;

 7           f. That Plaintiff be awarded statutory and enhanced damages under the

 8              statutes set forth above;

 9           g. That Plaintiff be awarded pre-judgment interest as allowed by law;

10           h. That Plaintiff be awarded the costs of this action; and

11           i. That Plaintiff be awarded such further legal and equitable relief as the

12              Court deems proper.

13        Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.

14 38 and the 7 Amendment to the United States Constitution.
               th


15                                                  Respectfully submitted,

16

17 Dated: January 28, 2022                   By: ______________________
                                                 Scott Alan Burroughs, Esq.
18                                               Frank Trechsel, Esq.
19                                               DONIGER / BURROUGHS
                                                 Attorney for Plaintiff
20

21

22

23

24

25

26

27

28
                                                8
                                            COMPLAINT
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 9 of 19 Page ID #:9




                EXHIBIT A-1
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 10 of 19 Page ID #:10




     Subject Photography                                Infringing Uses

                                    http://www.nat-geo.ru/nature/1261646-v-doline-smerti-
                                    poyavilos-ozero-klimaticheskiy-fenomen/
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 11 of 19 Page ID #:11




                                    https://s3.nat-
                                    geo.ru/images/2019/4/10/8134153faad248469e1139c3199
                                    cdd88.max-2000x1000.jpg




                                    http://www.nat-geo.ru/nature/1261646-v-doline-smerti-
                                    poyavilos-ozero-klimaticheskiy-fenomen/
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 12 of 19 Page ID #:12




                                    https://s3.nat-
                                    geo.ru/images/2019/4/10/1e5a3022fe5a4211a74b62a5dba
                                    ca6d2.max-2000x1000.jpg
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 13 of 19 Page ID #:13




                                    http://www.nat-geo.ru/nature/1261646-v-doline-smerti-
                                    poyavilos-ozero-klimaticheskiy-fenomen/
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 14 of 19 Page ID #:14




                 EXHIBIT A-2
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 15 of 19 Page ID #:15




        Subject Photography                         Infringing Uses

                                    https://www.ngenespanol.com/wp-
                                    content/uploads/2019/03/lago-valle-de-la-muerte-
                                    768x394.png




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 16 of 19 Page ID #:16




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/
  Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 17 of 19 Page ID #:17




https://www.youtube.com/watch?v=LOCqeN0Zm   https://twitter.com/CsNoticias_Coah/status/11064
jE                                          27096471994368?ref_src=twsrc%5Etfw%7Ctwca
                                            mp%5Etweetembed%7Ctwterm%5E11064270964
                                            71994368&ref_url=https%3A%2F%2Fwww.ngen
                                            espanol.com%2Ftravel%2Faparece-un-lago-en-
                                            uno-de-las-zonas-mas-secas-de-america-del-
                                            norte%2F




                                            https://www.ngenespanol.com/travel/aparece-un-
                                            lago-en-uno-de-las-zonas-mas-secas-de-america-
                                            del-norte/
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 18 of 19 Page ID #:18




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/
Case 2:22-cv-00681 Document 1 Filed 01/31/22 Page 19 of 19 Page ID #:19




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/




                                    https://www.ngenespanol.com/travel/aparece-un-
                                    lago-en-uno-de-las-zonas-mas-secas-de-america-
                                    del-norte/
